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             UNITED STATES BANKRUPTCY COURT

                        DISTRICT OF OREGON


                                   Case No. 16-60906-tmr7
In re
                                   Adv. Proc. No.
David and Lindsey Mason,
                                   COMPLAINT
             Debtors.
                                   11 U.S.C. § 523(a)(8)

David and Lindsey Mason,

             Plaintiffs,

        v.

United States Department of
Education, Oregon State
University, Discover
Financial Services, Inc.,
Navient Solutions, LLC,
National Collegiate Student
Loan Trust 2007-3, National
Collegiate Student Loan
Trust 2007-2, and National
Collegiate Student Loan
Trust 2006-3,

             Defendants.




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                                     1.

                           INTRODUCTION

      Plaintiffs file this action under 11 U.S.C. § 523(a)(8) through

their pro bono attorneys on referral from Legal Aid Services of Oregon.

Plaintiffs estimate that their student loans exceed $300,000. Mr.

Mason is a disabled veteran of the United States military. His income

consists solely of disability benefits, food stamps, and other

government assistance. Mrs. Mason has a high school diploma and

works part-time earning $13 per hour. Plaintiffs work as much as they

can in and out of the home while raising their two children ages 7 and

9.

                                     2.

      The National Collegiate Student Loan Trust defendants recently

filed three separate lawsuits against plaintiffs in state court. Plaintiffs

can’t afford to live if their bank accounts and Mrs. Mason’s wages are

subjected to garnishment for the next 20 years.

                                     3.

                JURISDICTION AND THE PARTIES

      This Court has jurisdiction under 28 U.S.C. § 1334 because this

complaint arises under Title 11. Venue is proper because plaintiffs re-

side in Albany, Oregon.




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                                   4.

      Plaintiffs filed bankruptcy under Chapter 7 of Title 11 on March

29, 2016 in case number 16-60906-tmr7 in the District of Oregon.

Plaintiffs’ alleged debts to defendants are collectively referred to as

their “student loans” in this complaint, though plaintiffs dispute that

the alleged debts are excepted from discharge under 11 U.S.C. §

523(a)(8). Only after defendants meet their burden to establish their

alleged debts are excepted from discharge under 11 U.S.C. § 523(a)(8),

plaintiffs intend to prove at trial that excepting such debts from dis-

charge would impose an undue hardship on them.

                                   5.

      Defendant United States Department of Education is an agency

of the United States. Defendant Oregon State University is a public

Oregon university. Defendant Discover Financial Services, Inc. is a

Delaware corporation. Defendant Navient Solutions, LLC is a Dela-

ware company. Defendants National Collegiate Student Loan Trust

2007-3, National Collegiate Student Loan Trust 2007-2, and National

Collegiate Student Loan Trust 2006-3 are Delaware statutory trusts.




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                                     6.

                         NATURE OF CLAIM

      Plaintiffs’ claim is a core proceeding under 28 U.S.C. § 157(b)(2)

and plaintiffs consent to entry of final orders and judgment by the

bankruptcy judge in this adversary proceeding. This complaint’s alle-

gations are based on personal knowledge as to plaintiffs’ own conduct,

and are made on information and belief as to the acts of others.

                                     7.

                      FACTUAL ALLEGATIONS

      Plaintiffs have no money left over each month to pay their stu-

dent loans, and their money problems aren’t going to get any better in

the future. Over the years, if plaintiffs ever had extra money, they put

it towards their student loans. Plaintiffs can’t maintain a minimal

standard of living if required to repay their student loans. Plaintiffs’

student loans are so large they will never pay them off. Plaintiffs’

monthly expenses don’t include tanning salons, gyms, new clothes,

hairdressers, subscription games, alcohol or drugs. Plaintiffs contrib-

ute nothing towards retirement and have no savings. Plaintiffs haven’t

paid for any vacations after borrowing their student loans. Plaintiffs

drive modest sedans from 1999 and 2003 that require repairs and will

likely need to be replaced in the near future. Plaintiffs require reliable

transportation to take their kids to school and to go to appointments



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with the doctor, the food stamp office, and the energy assistance office.

Mr. Mason is disabled. Mrs. Mason never got a degree with her student

loans, and doesn’t have any special job skills. Everyone who lives with

plaintiffs works as much as they can to help the family get by.

                                    8.

      Plaintiffs are not expecting any inheritance or gifts in the fu-

ture. Plaintiffs haven’t repaid other debts instead of their student

loans. Plaintiffs rent a three-bedroom house and cannot take on addi-

tional roommates to increase their income. It would be unconscionable

for this Court to require plaintiffs to reduce their expenses further

than they have already reduced them. Plaintiffs have no assets they

could sell to repay their student loans. Plaintiffs’ monthly expenses

continue to increase and their incomes don’t keep up with the costs of

living. Plaintiffs have made good faith efforts to repay their student

loans to defendants but haven’t had any disposable income. At all

times relevant after leaving college, plaintiffs worked to maximize

their income and minimize their expenses. Plaintiffs are not aware

that they qualify for job training programs. Plaintiffs do not qualify for

income-based repayment plan options on their private student loans

lower than their current monthly payment amounts, which they can’t

afford.




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                                   9.

                        CAUSES OF ACTION

                            CLAIM ONE

      (Determination of Dischargeability – 11 U.S.C. § 523(a)(8))

       Only after defendants meet their burden to establish their al-

leged debts are excepted from discharge under 11 U.S.C. § 523(a)(8),

plaintiffs seek an order and judgment declaring that excepting defend-

ants’ debts from discharge would impose an undue hardship on them

and their dependents.

                                   10.

                            CLAIM TWO

                    (Attorney Fees – ORS 20.096)

      Under the terms of the alleged private student loan contracts,

and under ORS 20.096, plaintiffs seek an award of their reasonable at-

torney fees incurred in this action with respect to defendants Discover

Financial Services, Inc., Navient Solutions, LLC, National Collegiate

Student Loan Trust 2007-3, National Collegiate Student Loan Trust

2007-2, and National Collegiate Student Loan Trust 2006-3.




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                                  11.

                     PRAYER FOR RELIEF

     A. Judgment declaring plaintiffs’ debts to defendants are dis-

        charged under 11 U.S.C. § 523(a)(8), and for costs,

     B. Judgment against defendants Discover Financial Services,

        Inc., Navient Solutions, LLC, National Collegiate Student

        Loan Trust 2007-3, National Collegiate Student Loan Trust

        2007-2, and National Collegiate Student Loan Trust 2006-3

        for reasonable attorney fees, and

     C. Any other equitable relief this Court may determine is fair

        and just.


November 23, 2017

                               RESPECTFULLY FILED,

                               /s/ Michael Fuller
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